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lN THE UNITED STATES DISTRICT COURT “ ' ' %~

FOR THE WESTERN DISTRICT oF TENNESSEE 95 M_,é- 23 P,,_? _ ` w
WESTERN DIvISIoN ' ‘ ' `* -'

 

WILLIE MARTIN, individually and as
Administrator of the Estate of Kevin Scott,
and LINDA SCOTT HARRIS,
individually and as mother of Kevin Scott,

 

No. 05-2181 Ml
Plaintiffs, JURY DEMANDED
vS.

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER GRANTING MOTION FOR EXTENSION OF TIME TO FILE
RESPONSE TO MOTION TO DISMISS, OR IN THE ALTERNATIVE,
FOR SUMMARY J'UDGMENT

 

On this day, came on for eonsideration, Plaintiffs’ Motion for Extension of Time
to tile Response to Motion of Shelby County and Youth Services Bureau to Dismiss, or in
the Alternative, for Surnmary Judgment, and the Court having considered same, is of the
opinion that the Motion should be granted

IT IS THEREFORE ORDERED, ADIUDGED AND DECREED, that Plaintiffs

shall have until August l, 2005, to file their response to Defendants’ Motion to Dismiss,

Un` d St .tes District Judge

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_ Date
=m.msnt entered on the docket sheet in compliance

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Approved:

@Yn:mun\i\/ -Ollm_

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 17 in
case 2:05-CV-02181 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

